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               EXHIBIT I
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                                   Contents lists available at ScienceDirect

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Are legacy airline mergers pro- or anti-competitive?
Evidence from recent U.S. airline mergers✩
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a r t i c l e        i n f o                a b s t r a c t

Article history:                            Due to a series of recent mergers, the number of legacy airlines
Available online 29 December 2017           in the United States has decreased from six to three. We con-
                                            duct a comprehensive investigation of the eﬀect on fares and
JEL classiﬁcation:                          output of these legacy airline mergers to determine whether
L40
                                            the mergers have had an overall pro-competitive or anti-
L41
L93                                         competitive eﬀect on consumers. Our diﬀerence-in-diﬀerences
                                            regression analysis shows that these mergers have been pro-
Keywords:                                   competitive, with no signiﬁcant adverse eﬀect on nominal fares
Airline Mergers                             and with signiﬁcant increases in passenger traﬃc as well as
Antitrust Policy
Merger Retrospective




 ✩
    We would like to thank Gustavo Bamberger, John Kwoka, Lynette Neumann and Chad Syverson for
helpful comments, and acknowledge Gloriana Alvarez, Chandni Raja and Jonathan Kroah for excellent
research assistance. The authors have worked through Compass Lexecon as economic experts sometimes in
opposition to and sometimes in support of previous airline mergers; they worked for the merging parties
in each of the three mergers analyzed in this paper. Among many projects, that consulting work addressed
research questions similar to the ones analyzed in this paper. The authors received no funding for the writing
and work on this paper which builds on that previous work. The authors are currently serving as experts
for several airlines. The views in this paper are those of the authors alone and do not necessarily reﬂect the
views of any airline. This paper was not subject to the review of any airline or attorney for any airline. We
encourage other researchers to continue to examine the eﬀects of the mergers.
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https://doi.org/10.1016/j.ijindorg.2017.12.002
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                                              capacity. Taken together, the results indicate that the recent
                                              legacy mergers were pro-competitive.
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 1. Introduction

    Since deregulation in 1978, the U.S. airline industry has experienced waves of entry,
 mergers and bankruptcies that have caused the industry to become more concentrated
 than it once was. This pattern of industry consolidation has continued into the 21st
 century; in the past ten years, six legacy carriers have merged into three: Delta Airlines
 and Northwest Airways merged to form Delta Airlines; United Airlines and Continental
 Airlines merged to form United Airlines; and American Airlines and US Airways merged
 to form American Airlines.
    There is an on-going debate whether these recent mergers have had a pro-competitive
 or anti-competitive eﬀect on consumers. The argument for anti-competitive eﬀects is that
 the mergers have reduced competition and thereby led to higher airline fares and lower
 output. The argument for pro-competitive eﬀects is that the mergers have enabled the
 airlines to take advantage of network eﬀects, with the improved network of service (e.g.,
 more online connections to more airports, b etter frequent ﬂyer programs) improving
 product quality, and thereby attracting more passengers leading to greater output.
    In this paper, we investigate which of the two eﬀects have prevailed. We are able to
 diﬀerentiate between the two eﬀects because they have very diﬀerent empirical implica-
 tions: The anti-competitive explanation predicts that airline mergers lead to higher fares
 and lower output, particularly on routes where the two merging carriers—and few other
 carriers—provided service before the merger.1 On the other hand, the pro-competitive
 explanation predicts that as a result of eﬃciencies airline mergers lead to lower fares and
 increased output, particularly on overlap routes since they are generally at the heart of
 the combined network. In studying these two eﬀects, the eﬀect of the merger on output is
 critical because it captures the all-in competitive eﬀects reﬂecting, among other factors,
 the airlines’ quality of service and the airlines’ non-fare revenues such as baggage fees
 and early boarding fees.2

   1
     We focus on overlap routes (using non-overlaps as controls) because that is where anticompetitive eﬀects
 have been considered most likely, both in the economic literature and in the DOJ investigations of merger
 activity. We consider mechanisms of harm to competition that do not have the largest eﬀect on overlap rules
 to be unlikely, but to the extent they exist, our paper does not address them.
   2
     Given the importance of quality competition, it is important to recall that a merger’s eﬀect on nominal
 fares is an incomplete measure of the merger’s full competitive eﬀects, even if one could adequately account
 for ancillary fees. In particular, if one sees average nominal fare increases following a merger, but also sees
 output increases, then such fare increases are not necessarily indicative of anti-competitive eﬀects. Rather,
 this combination of nominal fare increases and output increases could point to higher quality and thus
 greater demand for air travel (that is, a reduction in quality-adjusted fares). Alternatively, the combination
 could point to a changing mix of passengers, with the output increase disprop ortionately o ccurring among
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   We focus on legacy airline mergers because they operate the hub and spoke networks
that are more likely to get the network eﬀects from mergers. The eﬀect of mergers of “low
cost carriers” likely diﬀer in multiple dimensions and are worthy of separate analysis on
their own terms.
   In our empirical analysis, we employ a diﬀerence-in-diﬀerences approach, which allows
us to compare how the variables of interest changed between pre- and post-merger periods
on routes where mergers were expected to have the strongest competitive eﬀects (i.e.,
overlap routes) relative to other routes. This methodology has been used in previous
legacy carrier merger investigations (see, e.g., Heyer et al., (2009)).
   Our main conclusion is simple: The recent legacy carrier mergers have b een asso ciated
with pro-competitive outcomes. We ﬁnd that, on average across all three mergers com-
bined, nonstop overlap routes (on which both merging parties were present pre-merger)
experienced statistically signiﬁcant output increases and statistically insigniﬁcant nomi-
nal fare decreases relative to non-overlap routes. This pattern also holds when we study
each of the three mergers individually. We ﬁnd that nonstop overlap routes experienced
statistically signiﬁcant output and capacity increases following all three legacy airline
mergers, with statistically signiﬁcant nominal fare decreases following Delta/Northwest
and American/US Airways mergers, and statistically insigniﬁcant nominal fare decreases
following the United/Continental merger.
   For connecting overlaps, while none of the estimated coeﬃcients are statistically sig-
niﬁcant, the results are suggestive of small decreases in quality-adjusted fares, as the
point estimates show increases in output.
   The paper proceeds as follows. In Section II, we discuss the related literature. In Sec-
tion I I I we provide industry background. In Sections IV and V we describe our estimation
methodology and data, and present the estimation results. In Section VI, we conclude.

2. Related literature

   Our paper contributes to an extensive literature on merger retrospectives, which eval-
uates the competitive eﬀects of mergers and the accuracy of the government enforcement
process (see e.g., Carlton, 2009 and Kwoka, 2013). Not surprisingly, studies ﬁnd vary-
ing eﬀects from mergers in diﬀerent industries (see, e.g., Ashenfelter and Hosken, 2010,
Ashenfelter et al., 2011, Kwoka, 2013, 2015, and Pires and Trindade, 2015).
   In the airline industry, the studies of earlier airline mergers generally found that airlines
mergers led to loss of competition and increase in fares (see, e.g., Werden et al., 1991,
Borenstein, 1990, Peters, 2006).3 It is important to emphasize that the mergers analyzed
in these studies all took place more than twenty years ago, in 1980s and early 1990s.

business passengers who tend to place a high value on air travel and thus purchase relatively more expensive
tickets.
  3
    Our brief literature review focuses on the eﬀect of airline mergers on carrier fares on the aﬀected routes
where both merging carriers are present before the merger. We note that Kwoka and Shumilkina (2010) study
the fare eﬀects of eliminating potential competition and ﬁnd that one earlier merger, USAir/Piedmont, also
led to an increase in fares on routes where one carrier was present but the other was a potential entrant.
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    In contrast, and despite what seems to be a common complaint in press accounts and
 even in government statements about the adverse eﬀect of the recent legacy mergers on
 fares,4 studies of more recent mergers are generally inconclusive as to the overall eﬀect
 of speciﬁc mergers. The most intensively studied recent merger is Delta/Northwest and
 studies of that merger generally do not ﬁnd large eﬀects. For instance, Mehta and Miller
 (2012), Jain (2015) and Hüschelrath and Müller (2015) ﬁnd that the transaction led to
 small fare increases, between 1 and 4%, on the aﬀected routes, while Luo (2014) concludes
 that the fares on the aﬀected nonstop routes did not change, and fares on the aﬀected
 connecting routes increased by about 2%. At the same time, Mahoney (2014) argues
 that the cumulative eﬀect on fares, which combines market-level and ﬁrm-level eﬀects, is
 negative, meaning that the overall eﬀect of the merger was a reduction in fares.
    None of these recent studies investigate the eﬀect of the merger on the number of pas-
 sengers on the aﬀected routes, and thus they cannot address the bottom-line competitive
 eﬀect of the merger including any eﬀects on quality or non-price fare changes (such as
 eﬀects on ancillary fees). Our study focuses on output eﬀects and thus ﬁlls this gap in
 the literature (as well as combining study of the Delta/Northwest merger with study of
 the two more recent legacy airline mergers).
    The evidence in the economic literature with respect to the United/Continental merger
 is more limited, but generally does not suggest that its longer term eﬀect will be signiﬁ-
 cantly anti-competitive (see, e.g., Jain, 2015 who ﬁnds that the merger reduced fares by
 3–4%).5
    To the best of our knowledge, our study is the ﬁrst study that examines the eﬀects
 of the American/US Airways merger and the ﬁrst study that provides comprehensive
 analysis of the output and fare eﬀects of the three recent legacy mergers in totality.


 3. Industry background

    Following deregulation in the late 1970s, the airline industry experienced two waves
 of airline entry: immediately after the deregulation (between 1978 and 1984), and again
 in the ﬁrst half of 1990s. These two p erio ds of explosive growth in the number of carriers
 has subsequently been counterbalanced by exits and consolidation. (See Borenstein and
 Rose, 2014 for a detailed exposition on the history of the industry.)
    By 2005, the number of legacy carriers had shrunk from more than twenty at the
 time of deregulation to six. These six legacy carriers were American, Continental, Delta,
 Northwest, United and US Airways. All of these carriers have ﬁled Chapter 11 bankruptcy

  4
    See, e.g., “The American Way,” by Justin Elliott, ProPublica, October 11, 2016, https://www.propublica.
 org/article/airline- consolidation- democratic- lobbying- antitrust, or “America’s Monopoly Problem: What
 Should the Next President Do About It?,” by Senator Elizabeth Warren, a lunch keynote address at the New
 America’s Open Markets Program Conference, June 29, 2016, https://www.newamerica.org/open-markets/
 events/americas- monopoly- problem/.
  5
    In a related study, Prince and Simon (2015) investigate the eﬀect of recent airline mergers, including
 the Delta/Northwest and United/Continental mergers, on airlines’ on-time performance and ﬁnd that it
 worsens in the short run, but it improves in the long run because of the eﬃciency gains.
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                                          Fig. 1. Load factors.



at least once; most recently American Airlines ﬁled for bankruptcy in 2011. As mentioned
above, these six legacy carriers have since 2005 consolidated into three remaining legacy
carriers: American Airlines, Delta Airlines, and United Airlines.6
   Before turning to the rigorous econometric analysis in the next section, we begin with
an overview of industry-wide trends around the time of each merger. These trends show
patterns that are not consistent with widespread harms from the mergers, a ﬁnding that
is bolstered by the results of our econometric analysis in the next section.
   We start with the analysis of industry-wide load factors, which are shown on Fig. 1.
This ﬁgure provides a ﬁrst indication that the mergers may not have had an anti-
competitive eﬀect: As shown in Fig. 1, the steady upward trend in industry-wide load
factors that started in early 2000s has not been aﬀected by the mergers. If the mergers had
anti-competitive eﬀects, one might expect that, at least in the short run, the associated
fall in output would lead to a decline in load factors, which is not observed in the data.7
   While the airline industry has been largely unproﬁtable for most of the post-
deregulation era (see Borenstein, 2011), Fig. 2 illustrates that the airlines’ ﬁnancial
performance has improved in the last few years. Note that both pro-competitive and

 6
    The Delta/Northwest merger was announced on April 14, 2008 and approved by the government on
October 29, 2008. The United/Continental merger was announced on May 3, 2010 and approved on August
27, 2010. The American/US Airways merger was announced on February 14, 2013 and approved on Novem-
ber 12, 2013. While the Delta/Northwest merger was approved unconditionally, government approval of
United/Continental and American/US Airways mergers was conditioned on sale of certain merging parties’
assets, such as takeoﬀ/landing slots and gates, to other carriers.
 7
    As is evident from the ﬁgure, the immediate declines in load factors that occurred after each legacy
merger are consistent with the common seasonal pattern. This “sawtooth” pattern (also apparent in the
enplanements series in Fig. 4) is due to seasonal increases in travel during summer months.
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                          Fig. 2. U.S. passenger airline industry proﬁtability.




                                Fig. 3. Real revenue per passenger-mile.




 anti-competitive merger eﬀects can lead to the improved carrier ﬁnancial performance
 (albeit via diﬀerent channels); therefore, improvements in carrier proﬁts do not allow one
 to disentangle the explanations.
    Fig. 3 shows trends in real yields, measured as inﬂation adjusted revenue per passenger-
 mile. Real yields, a proxy for airline fares, have been ﬂuctuating between $0.16 and $0.18
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                               Fig. 4. Total number of enplanements.



per passenger-mile for most of the last ﬁfteen years, apart from the slump associated
with the Great Recession. While fares appear to be increasing following each of the
legacy carrier mergers, these increases ﬁt a common pattern of fares returning back to
their long-term equilibrium after the Great Recession. Additionally, even if increases in
fares were associated with legacy carrier mergers, these increases could be consistent with
both pro- and anti-competitive merger eﬀects: in the pro-competitive merger, increased
fares could reﬂect increased quality, while in the anti-competitive merger, increased fares
could reﬂect carrier’s anti-competitive exercise of market power. So, again, the more
detailed econometric analysis we provide below—including a study of output eﬀects—is
required to disentangle the competing explanations.
   Looking at the trend in the number of enplanements, as shown in Fig. 4, and account-
ing for variations in this measure due to seasonal patterns, indicates that the recent legacy
airline mergers have not led to lower output. In particular, the decline in the number of
passengers in 2009, which might appear to follow the Delta/Northwest merger, is clearly
associated with the slowdown in economic activity during the Great Recession. And
the fact that there were no long-term decreases in the number of passengers following
the United/Continental and American/US Airways mergers indicates that there is no
systematic relationship between mergers and lower output.
   Finally, as shown in Fig. 5, which depicts the overall trend in available seat miles (a
standard measure of airline capacity, where a single available seat mile represents one
seat ﬂown one mile), there is no evidence of a sustained long-term decline in capacity
following recent legacy carrier mergers. To the contrary, there was a sharp decline in
capacity in the months leading up to the Delta/Northwest merger, but just after the
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                            Fig. 5. Quarterly domestic available seat miles.




 Delta/Northwest merger, the decline in capacity ended, and capacity began to grow
 again. The capacity growth remained steady before and after the United/Continental
 merger, and before and after the American/US Airways merger. Again this pattern is
 inconsistent with widespread harm to competition from the recent mergers.
    Fig. 5 also plots airline capacity in the post-9/11 period against the unemployment rate
 and the timing of the Great Recession, both indicators of the overall health of the macro
 economy. Trends in capacity are highly correlated with these basic economic indicators.
 Three distinct sub-p erio ds are clear from the chart—slight increases in capacity before
 and after the recession, with a sharp decline in capacity during the recession. Consistent
 with an important role for macroeconomic forces, the pattern in capacity is eﬀectively
 the mirror image of the pattern in unemployment. Hence, it appears that, in recent years,
 capacity reductions have been associated with macroeconomic conditions, not with the
 recent mergers.
    Though suggestive, the analysis of these industry-wide trends is far too broad to
 establish the merger’s competitive eﬀects one way or the other. Still, it is evident from
 the ﬁgures that macroeconomic conditions such as the Great Recession had a signiﬁcant
 inﬂuence on the airline industry, and, therefore, that isolating merger eﬀects requires
 controlling for macroeconomic trends. In the next section we employ a diﬀerence-in-
 diﬀerences regression analysis that allows us to control for macroeconomic (and other
 industry wide) trends and thus to isolate the merger eﬀects by comparing the routes
 likely to be most aﬀected by the mergers to control routes in which the mergers would
 have had, at most, a more diluted eﬀect.
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 4. Methodology and data

 2.1. Empirical methodology

    Estimation of the eﬀects of airline mergers on consumers is complicated by two facts.
 First, as illustrated above, fares are aﬀected by many economic factors other than the
 number of competitors on a route and those factors may be changing over time. Because
 of this, a simple before-and-after examination of nominal fares on the routes aﬀected
 by the merger risks attributing to the merger trends in fares that may have some other
 causes.8
    Second, changes in nominal fares are not a guide to changes in consumer welfare
 when quality changes simultaneously. Knowing the eﬀect of the merger on nominal fares,
 therefore, is not enough to tell us whether consumers are better or worse oﬀ, especially in
 an airline merger where there is a strong reason to believe (explained more fully below)
 that consolidation leads to higher-quality products.
    In our study, we deal with both these complications in turn. First, we examine
 whether nominal fares have risen post-merger, but deal with the confounding inﬂuence
 of non-merger related changes in conditions by relying on the well-known “diﬀerence-in-
 diﬀerences” estimation technique (See, e.g., Ashenfelter and Card, 1985 and Card and
 Krueger, 1994). This is a standard econometric technique that does not rely on structural
 modeling of the eﬀects of the merger on fares, but rather compares changes in fares on
 routes that should have been most aﬀected by the merger to changes in fares on routes
 that likely would not have been aﬀected by the merger (or at least on which any eﬀect
 would be far more modest).9 The routes that would not have been aﬀected by the merger
 act as a control group to capture the general trends in fares. This approach allows us
 to account for the confounding eﬀects of non-merger related changes in economic con-
 ditions, identifying the merger eﬀects by relying on eﬀects experienced only on overlap
 routes but not on control routes, with common changes across overlap and control routes
 attributed to non-merger related changes.
    The diﬀerence-in-diﬀerences technique must be implemented carefully. Most basically,
 the aﬀected (overlap) routes must be those that are likely to have experienced the com-
 petitive eﬀects from the merger. And because the technique relies upon ﬁnding a go o d
 control group of routes—which capture what would have happened on the overlap routes
 but for the merger—one should test that the control group is appropriate and consider
 multiple possible controls groups to make sure ﬁndings are robust. In addition, the pre-


   8
     Generally, one needs to account for inﬂation when examining changes in fares over time. The diﬀerence-
 in-diﬀerences approach discussed below implements such adjustment.
   9
     Even if the control routes were aﬀected to a small degree by the merger, as long as the overlap routes
 were most aﬀected—as seems clear given that they are the routes on which the merging parties competed
 pre-merger and they are generally at the heart of the combined network—then the logic goes through. To
 the extent the merger had anti-competitive net eﬀects, the overlap routes should see fare increases and
 output decreases relative to other routes. To the extent it had pro-competitive net eﬀects, the reverse result
 would be expected.
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  and post-merger periods must reﬂect periods of independent decision-making and joint
  decision-making by the merging parties, respectively, so that the eﬀect of the merger on
  decision variables such as fare is laid bare. In our analysis, we take care on both dimen-
  sions and we present several sensitivity analyses that indicate that our results are not
  driven by speciﬁc decisions on either of these dimensions.
     Second, we account for the fact that, even if nominal fares have risen, quality-adjusted
  fares may have fallen.10 As usual, one cannot measure quality-adjusted fares directly, so
  the obvious approach is to focus on quantity: Given that consumer demand depends on
  quality-adjusted fares and demand curves slope downward, greater output implies lower
  quality-adjusted fares. To this end, we examine changes in the number of passengers
  traveling on overlap routes as well as seat capacity on overlap routes, both of which
  should move inversely to changes in quality-adjusted fares. We use the same diﬀerence-
  in-diﬀerence technique described above to study changes in the number of passengers.

  2.2. Data sources and time periods

     Our primary data source is the Department of Transportation’s Origin and Destina-
  tion Survey (DB1B) database, which is a 10% sample of all domestic itineraries in each
  quarter for each year in our sample. The data contain information on origin, destination
  and connecting airports, marketing and operating carrier, quarter of travel, fare, and
  the number of passengers paying that fare.11 We use these data to identify connecting
  overlaps (as described below), as well as to calculate fares and the number of passengers
  on each origin and destination pair in each quarter.
     We use airline schedules from the Oﬃcial Airline Guide (OAG), which publishes a
  complete set of scheduled ﬂights for all airlines between all U.S. airports, to identify
  nonstop carriers on each route and thus to identify nonstop overlaps, i.e., routes where
  both merging carriers provided nonstop service before the merger.
     We use the T100 (Form 41) database from the Bureau of Transportation Statistics,
  which reports the number of available seats by airline and airport-pair segment for all
  domestic passenger ﬂights in the U.S., to identify capacity on overlap and control routes.
     To deﬁne pre- and post-merger time p erio ds, we take two years of data before and
  after each merger’s approval by the Department of Justice, and we exclude the quarter
  of the merger’s approval from the analysis (Q4 2008 for the Delta/Northwest merger,
  Q3 2010 for the United/Continental merger, and Q4 2013 for the American/US Airways
  merger). Thus, pre- and post-merger time p erio ds for the Delta/Northwest merger are
  Q4 2006–Q3 2008 and Q1 2009–Q4 2010, pre- and post-merger time periods for the

   10
      In a model of consumer utility maximization, one can construct a price index that reﬂects both quality
  and price in order to predict consumption decisions. That is what we mean by “quality adjusted fare”.
   11
      For simplicity we restrict the DB1B database to customer itineraries with at most one stop on each
  directional market, and we implement standard data cleaning steps when using these data. In particular,
  we drop itineraries marked as bulk or containing non-credible fares (as classiﬁed in the database), and
  itineraries with fares below $25 in economy class. Appendix contains other details on how we processed the
  DB1B dataset.
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 Table 1
 Nonstop overlap routes.
  Merger                                2->1 Overlaps                           3->2 Overlaps

  I. Delta/Northwest                    Cincinnati-Detroit                      Atlanta-etroit
                                        Cincinnati-Minneapolis                  Atlanta-Memphis
                                        Detroit-Salt Lake City                  Atlanta-Minneapolis
                                        Minneapolis-Salt Lake City
  II. United / Continental                                                      Cleveland-Denver
                                                                                Washington, D.C.-Houston
                                                                                Houston-San Francisco
  I I I. American / USAirways           Charlotte-Dallas                        Dallas-Philadelphia
                                        Charlotte-Miami                         Miami-Phoenix
                                        Dallas-Phoenix




 United/Continental merger are Q3 2008–Q2 2010 and Q4 2010–Q3 2012, and pre- and
 post-merger time periods for the American/US Airways merger are Q3 2011–Q3 2013
 and Q1 2014–Q4 2015.


 2.3. Overlap and control routes

 2.3.1. Details of nonstop analysis
    To identify nonstop overlaps between the merging parties, we use OAG data for the
 week of July 9–15 in the year of the merger approval (2008 for Delta/Northwest, 2010
 for United/Continental, and 2013 for American/US Airways). We count a carrier as a
 nonstop carrier if the carrier had at least 10 nonstop operations (ﬁve round-trips) on
 a given origin-destination pair in that week. Accordingly, nonstop overlaps are origin-
 destination combinations for which both merging parties had at least 10 total operations
 during this week.
    To analyze the competitive eﬀects from the merger, we focus on 2-to-1 and 3-to-2 over-
 laps, meaning overlaps on which at most one other carrier had 10 nonstop operations
 according to the OAG data.12 Using the above criteria, we identify a total of seven 2-to-1
 nonstop overlaps (four from the Delta/Northwest transaction, and three from the Amer-
 ican/US Airways transaction) and eight 3-to-2 nonstop overlaps (three each from the
 Delta/Northwest and United/Continental transaction, and two from the American/US
 Airways transaction) from the previous mergers. Table 1 lists each of these overlap routes.
    We identify separate control routes for the 2-to-1and 3-to-2 nonstop overlaps in each
 merger. The control routes in each case are routes that are not nonstop or connecting
 overlaps for any of the three mergers,13 and that have the same number of nonstop carriers

  12
     Recent economic literature indicates that adding a third nonstop legacy carrier has no statistically
 signiﬁcant eﬀect on fares (See, e.g., Brueckner, Lee and Singer, 2013). In our sensitivity analysis, we also
 include 4-to-3 overlaps in the analysis.
  13
     For example, nonstop control routes for the Delta/Northwest merger cannot be United/Continental or
 American/US Airways nonstop or connecting overlap routes and so on.
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  as the corresponding set of nonstop overlaps in the pre-merger p erio d.14 Requiring that
  the control routes have the same number of nonstop carriers as the overlap routes in the
  pre-merger p erio d helps to ensure that the control routes are reasonably comparable to
  the overlap routes, including a similar pre-merger competitive structure.15
     Once we match control routes to each set of nonstop overlap routes (e.g., 2-to-1 non-
  stop overlaps for the Delta/Northwest transaction, or 3-to-2 nonstop overlaps for the
  American/US Airways transaction), we p o ol the data for the nonstop overlap routes and
  the corresponding control routes into one sample, across the three mergers, which we
  use to run our p o oled regressions for nonstop overlaps.16 We include route ﬁxed eﬀects
  in all of the regressions. We weight the regressions by the total number of passengers
  (summing across all quarters in our analysis) on each route to put more weight on the
  relatively larger routes in our estimates.17,18
     Table 2 provides descriptive statistics for nonstop overlap and control routes. This
  table illustrates how the diﬀerence-in-diﬀerences method works: while average fares on
  nonstop overlaps for the Delta/Northwest merger did not change much between the post-
  and pre-merger p erio ds, average fares on control routes, selected as discussed above,
  increased by about 2%. Therefore, fares on nonstop routes appear to have declined after
  the merger relatively to the trends on fares on control routes. Similarly, fares on overlap
  routes for the American/US Airways mergers declined between the post- and pre-merger
  time p erio ds relative to the control routes. In contrast, fares on United/Continental
  overlap routes appear to have increased relative to fares on the corresponding control
  routes. In the next section we will identify whether these patterns are conﬁrmed by our
  regression analysis through which we control for other factors that may have aﬀected
  fares.
     Table 2 also provides an insight into the relationship between output and capacity
  on nonstop routes. The fact that the number of seats (capacity) on nonstop routes is
  on average more than double the number of passengers (output) shows the importance
  of connecting passengers on these routes. Note that our nonstop route analysis captures
  passenger traﬃc on a nonstop route from airport A to airport B, but does not capture

   14
       For example, nonstop control routes for 2-to-1 nonstop overlaps in the Delta/Northwest scenario have
  two nonstop carriers in the pre-merger p erio d.
   15
       As we discuss later, we conduct more formal testing to ensure that the trends in fares and output on
  nonstop overlaps and on the corresponding sets of control routes are not statistically diﬀerent in each of
  the three pre-merger p erio ds, and show that, if anything, our selected group of control routes lead our
  estimation results to be overly conservative.
   16
       We also p o ol 2-to-1 and 3-to-2 routes into one sample, though in a later section, we check that this
  p o oling has no material eﬀect on our conclusions.
   17
       One rationale for weighting is that the fares in the DB1B database come from a 10 percent sample of
  tickets, meaning that smaller routes will have noisier fare estimates. For a discussion of other rationales,
  (see Solon, Haider and Wooldridge, 2015). Note that the weighting leads to three mergers having varying
  overall weight in the p o oled regression estimates; our substantive conclusions remain unchanged if we force
  mergers to have equal overall weight, but continue weighting the routes within each merger by number of
  passengers.
   18
       Because we use the total number of passengers for each route, our weights do not vary across quarters
  for a given route. In this way, we avoid any concerns that the weights are endogenous. Any diﬀerences in
  the characteristics of diﬀerent-sized routes are captured by the route ﬁxed eﬀects, meaning that constant
  route weights are uncorrelated with the error term by construction.
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 Table 2
 Descriptive statistics for nonstop overlap and control routes.
                       Variable                          Pre-merger Post-merger Percentage diﬀerence (%)

  I. Delta/Northwest
  Overlaps (2→1 routes: 4; 3→2 routes: 3)
                       Average price                     $177.75    $177.35     −0.2
                       Total passengers per day each way 1983       1916        −3.4
                       Total seats per day each way      7688       8370        8.9
  Control routes (2→1 routes: 385; 3→2 routes: 145)
                       Average price                     $163.28    $166.97     2.3
                       Total passengers per day each way 2,03,035   1,83,750    −9.5
                       Total seats per day each way      5,54,517   5,06,196    −8.7
  II. United/Continental
  Overlaps (2→1 routes: 0; 3→2 routes: 3)
                       Average price                     $232.27    $272.19     17.2
                       Total passengers per day each way 1742       1810        3.9
                       Total seats per day each way      4218       4904        16.3
  Control routes (2→1 routes: 0; 3→2 routes: 140)
                       Average price                     $164.01    $187.59     14.4
                       Total passengers per day each way 81,453     83,207      2.2
                       Total seats per day each way      2,13,799   2,11,337    −1.2
  I I I. American/US Airways
  Overlaps (2→1 routes: 3; 3→2 routes: 2)
                       Average price                     $246.33    $229.60     −6.8
                       Total passengers per day each way 2217       2807        26.6
                       Total seats per day each way      8173       9670        18.3
  Control routes (2→1 routes: 317; 3→2 routes: 138)
                       Average price                     $199.10    $207.33     4.1
                       Total passengers per day each way 1,60,927   1,72,670    7.3
                       Total seats per day each way      4,40,334   4,50,353    2.3



 connecting traﬃc on itineraries from airport C to airport B via airport A. The network
 considerations that airlines must make to accommodate this connecting traﬃc gener-
 ally drive the capacity on nonstop routes well above the nonstop-only output on those
 routes. This makes the interpretation of the merger eﬀects on capacity less straightfor-
 ward because an increase in capacity on a route b eneﬁts b oth nonstop and connecting
 passengers.

 2.3.2. Details of connecting analysis
    To identify connecting overlaps, we use the DB1B dataset. We deﬁne a connecting
 carrier on a given route as a carrier with at least 10% of total passenger traﬃc. Connect-
 ing overlaps are origin-destination pairs that satisfy the following criteria: the merging
 parties did not both provide nonstop service in pre-merger time p erio d,19 each of the
 merging parties had at least a 10% passenger share on a given route in the pre-merger
 p erio d, and together the merging parties had at least a 40% passenger share pre-merger.

 19
      “Nonstop” service is deﬁned using OAG data as described above.
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  The 40% restriction insures that results are not biased away from ﬁnding eﬀects due to
  the inclusion of routes with minimal overlap. We understand that this deﬁnition of con-
  necting overlaps is similar to the deﬁnition the Department of Justice has adopted in its
  previous analyses of airline mergers. Notably, under this deﬁnition, we include both non-
  stop/connecting (in which one of the merging parties provides nonstop service and the
  other provides connecting service) and connecting/connecting overlaps in our connecting
  overlap category.
      Similar to control routes for nonstop overlaps, we deﬁne separate control routes for
  the 2-to-1 and 3-to-2 connecting overlaps in each merger. Control routes for connecting
  overlaps are routes where the following conditions are satisﬁed: (a) the route is not
  a nonstop or connecting overlap for any of the three mergers; (b) there are the same
  number of carriers with at least 10% share as the corresponding set of connecting overlap
  routes (i.e., control routes for 3-to-2 connecting overlap route have 3 carriers pre-merger,
  meaning 3 carriers with at least 10% of passenger traﬃc); and (c) the number of nonstop
  carriers on the route (as computed from OAG data, as describ ed ab ove) is smaller than
  the total number of carriers on the route (meaning at least one of the carriers with 10%
  share on the route is not a nonstop carrier).20
      Once we match control routes to each set of connecting overlap routes, we p o ol the
  data for the connecting overlap routes and the corresponding control routes into one
  sample, which we use to run our regressions for connecting overlaps.
      One potential issue that arises for connecting overlap and the associated control routes
  is that some of the routes may have very little traﬃc.21 Not only may very small routes
  be economcally diﬀerent from larger routes, but the fact that the DB1B data is only a
  10% sample of all tickets creates a strong possibility that fares and traﬃc levels on such
  small routes are noisy and subject to random quarter-to-quarter ﬂuctuations.22 In our
  analysis, we take two steps to address this. First, we limit the connecting overlap and
  control routes included in our study to those with at least 20 passengers daily each way
  (PDEW). Second, we weight the connecting regressions by the total number of passengers
  (summing across all quarters in our analysis) on each route to put more weight on the
  relatively larger routes in our estimates. In our sensitivity runs, we present results using
  a 10 (rather than 20) PDEW screen and for unweighted connecting regressions to show
  that our conclusions do not depend on these speciﬁc choices.
      Using the deﬁnitions in this section (including the requirement for an overlap route
  and the 20 PDEW screen), we identify 18 2-to-1 connecting overlaps (nine each from
  the Delta/Northwest and American/US Airways transactions) and 116 3-to-2 connect-
  ing overlaps (51 from the Delta/Northwest transaction, 13 from the United/Continental


   20
      Similar to the nonstop overlap analysis, below we present formal test results that ensure that our control
  routes are appropriate.
   21
      The issue of routes with very few passengers does not arise for nonstop overlaps or their associated
  controls, which is not surprising given that they all have at least two nonstop carriers in the pre-meger time
  p erio d.
   22
      To reﬂect the possibility of such heteroscedasticity, we use robust standard errors in all analyses.
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 Table 3
 Descriptive statistics for connecting overlap and control routes.
        Variable                                    Pre-merger    Post-merger       Percentage diﬀerence (%)

  I. Delta/Northwest
  Overlaps (2→1 routes: 9; 3→2 routes: 51)
        Average price                               $220.53       $202.56           −8.2
        Total passengers per day each way           2143          2215              3.4
  Control routes (2→1 routes: 536; 3→2 routes: 606)
        Average price                               $205.01       $199.50           −2.7
        Total passengers per day each way           96,784        91,930            −5.0
  II. United/Continental
  Overlaps (2→1 routes: 0; 3→2 routes: 13)
        Average price                               $253.18       $300.85           18.8
        Total passengers per day each way           870           864               −0.6
  Control routes (2→1 routes: 0; 3→2 routes: 639)
        Average price                               $200.12       $226.52           13.2
        Total passengers per day each way           58,289        59,775            2.5
  I I I. American/US Airways
  Overlaps (2→1 routes: 9; 3→2 routes: 52)
        Average price                               $274.78       $289.07           5.2
        Total passengers per day each way           4389          4679              6.6
  Control routes (2→1 routes: 556; 3→2 routes: 687)
        Average price                               $233.93       $244.69           4.6
        Total passengers per day each way           1,08,624      1,13,622          4.6




 transaction, and 52 from the American/US Airways transaction) to use in our base anal-
 ysis.
    Table 3 provides descriptive statistics for connecting overlap and control routes.23
 The fares on connecting overlap routes for the Delta/Northwest merger appear to
 have declined between the p ost- and pre-merger p erio ds by more than the fares on
 the corresponding control routes. In contrast, fares on connecting overlap routes for
 United/Continental and American/US Airways mergers appear to have increased post-
 merger relative to the corresponding set of control routes. Again, the regression analysis
 will conﬁrm whether these patterns hold up in a more rigorous setting and, if so, whether
 they are statistically signiﬁcant.
    We now turn to describing our regression model speciﬁcation, which will allow us to
 control for additional factors that aﬀected fares and output and thus to identify the eﬀect
 of the mergers on these variables with more rigor.



  23
     Similar to the nonstop analysis, we p o ol overlap and connecting routes from three mergers into one
 sample. We also p o ol b oth 2-to-1 and 3-to-2 routes into one sample, though in a later section, we check that
 this p o oling has no material eﬀect on our conclusions. Note that because there were no 2-to-1 connecting
 overlaps in the United/Continental merger, we also ran a version of the regression in which we dropped the
 2-to-1 control routes from the sample for the United/Continental merger and this had no substantive eﬀect
 on our results.
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  2.4. Model speciﬁcation

      Our analysis examines a series of regression models of the following form:

                    Yit = β1 Mergeri Postt + β2 PercentNonstopit + δi + θt + εit ,

  where an observation is a city-pair i in a particular quarter t.24
      Our main independent variable of interest is a dummy variable, represented by term
  M ergeri P ostt in the equation above, that takes a value of 1 for overlap routes in the
  p ost-merger p erio d, and zero otherwise. This variable is the main to ol of the diﬀerence-
  in-diﬀerences estimation approach. The reason for this is that—because we also include
  city-pair ﬁxed eﬀects δi and year-quarter ﬁxed eﬀects θt—the estimated coeﬃcient on
  this variable measures the incremental eﬀect of the merger on the dependent variable
  on overlap routes relative to how the dependent variable has changed on control routes
  between the pre-merger and post-merger time periods.25 In addition, following previous
  studies of pricing in the airline industry, we include a variable measuring the percentage
  of nonstop passengers on a given route as an additional control in all regressions.26,27
  For consistency, we include this variable both in the regressions studying merger eﬀects
  on fares and in the regressions studying merger eﬀects on number of passengers and
  capacity. The Appendix Tables 1 and 2 show that omitting this variable does not alter our
  conclusions that recent legacy airline mergers had pro-competitive eﬀects on consumers.28
      Our analysis examines a series of regression models with diﬀerent dependent variables
  Yit :
  •   Logarithm of average nominal fare on a given route-quarter. Consistent with stan-
      dard practice in the economics literature, we focus on the eﬀect of the merger on
      nominal fares across all carriers on the route, not just merging-party fares. Focus-
      ing on merging-party (rather than market-wide) fares could be inappropriate since a

   24
      We follow city-pair groupings, which match those in Brueckner, Lee and Singer (2013) other than splitting
  Cincinnati (CVG) and Dayton (DAY) into separate groupings.
   25
      The city-pair ﬁxed eﬀects account for time invariant unobservable variables that may have a diﬀerential
  eﬀect across diﬀerent routes. For instance, fares could be higher on routes that originate in airports located
  in more expensive cities. The year/quarter ﬁxed eﬀects account for unobservable variables that aﬀect fares
  on all routes simultaneously. For instance, increases in fuel costs or general inﬂation may lead to higher
  fares on all routes. With these controls in place, the post-merger dummy on overlap routes measures the
  eﬀect of the merger on overlap routes relative to the contemporaneous change on control routes.
   26
      See, e.g., Borenstein (1989), who studies airline pricing and controls for percent of nonstop passengers
  by using average number of change-of-plane stops on the observed airline routes. (See also Orlov 2011).
  The likely eﬀect of the percent non-stop variable on pricing is ambiguous because nonstop operation is less
  costly to the airlines, and yet it provides higher quality and convenience for consumers. We ﬁnd that higher
  percent of nonstop passengers on a given route is associated with lower fares. See Appendix Tables 1 and 2.
   27
      Note that both lack of data and lack of variation across routes prevent us from studying how other
  potential factors (e.g., baggage fees) aﬀect fares. However, to the extent such factors have a merger-speciﬁc
  eﬀect, the eﬀect would be captured in the regressions for output, which provides a complete metric of
  quality-adjusted fares.
   28
      The results in the Appendix show that when the variable measuring the percentage of nonstop passengers
  on a given route is omitted from our regressions, the statistically signiﬁcant negative merger eﬀect on nonstop
  average fare on overlap routes becomes marginally statistically insigniﬁcant, but the positive and statistically
  signiﬁcant eﬀects of a merger on output and capacity remain.
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      successful, pro-competitive merger may cause the merging parties, in particular, to
      attract relatively more high-fare business passengers, thus increasing the observed av-
      erage fares received by the merging parties, even with no change in their pricing rules.
      The results of this regression indicate the percentage change in average nominal fares
      on overlap routes between the pre-merger and post-merger periods relative to theage
      change in average nominal fares on control routes.
 •    Logarithm of the 90th percentile nominal fare on a given route-quarter (as a proxy for
      fares paid by business travelers). As such, the results of this regression are taken to
      indicate the percentage change in nominal fares paid by business travelers on overlap
      routes between the pre-merger and post-merger periods relative to the percentage change
      in nominal fares paid by business travelers on control routes.
 •    Logarithm of the total number of passengers ﬂying on the route in each quarter.29 The
      results of this regression indicate the percentage change in total traﬃc on overlap routes
      between the pre-merger and post-merger periods relative to the percentage change in
      total traﬃc on control routes.
 •    Logarithm of the total number of available seats on the route in each quarter. The
      results of this regression indicate the percentage change in total seat capacity on overlap
      routes between the pre-merger and post-merger periods relative to the percentage change
      in total seat capacity on control routes. This metric is only available for nonstop routes.
 •    Finally, we use weighted regressions, weighting the output regressions by total traﬃc
      on a route and fare regressions by total revenue on a route.30


 5. Estimation results

 5.1. Pooled regression results

    Table 4 reports results for nonstop overlaps, pooling all three recent legacy carrier
 mergers.31 The results thus represent an average eﬀect of the three mergers on fare,
 output and capacity. Each coeﬃcient rep orted in the table can b e interpreted as the
 approximate merger-induced change in the variable in question, in percentage terms.
 Given that competitive eﬀects from an airline merger are likely to be most pronounced
 on nonstop overlaps, we consider our nonstop results to be the most important results
 in the paper.

 29
    As mentioned above, the eﬀect of a merger on consumer welfare in any particular antitrust market is
 determined by changes in fare and output across all carriers in the market, not the eﬀects on a single
 carrier. Only by focusing on market-wide fares and output can one assess the full post-merger competitive
 process. For example, to the extent that carriers currently serving a route react to merger-induced changes
 by cutting fares, improving quality, or expanding—or to the extent that the merger induces entry by new
 carriers—these changes would not be captured merging-party-speciﬁc metrics, meaning that these metrics
 are necessarily incomplete.
 30
    We use constant weights for each route, determined by the average pre-merger traﬃc (for output re-
 gressions) and revenue (for fare regression). Because our fare regressions focus on market average fare, we
 weight fare regressions by total revenues on the route rather than merging party revenues.
 31
    The detailed regression output for the corresponding regressions is presented in the Appendix.
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  Table 4
  Pooled nonstop overlap results.
   Dependent variable                                                         Merger eﬀect nonstop overlaps

   Log (Avg. Fare)                                                            −0.063∗ ∗
                                                                              [0.026]
                                                                              (18,123)
   Log (90th percentile Fare)                                                 −0.030
                                                                              [0.020]
                                                                              (18,123)
   Log (Nr. Passengers)                                                       0.120∗ ∗ ∗
                                                                              [0.032]
                                                                              (18,123)
   Log (Nr. T-100 seats)                                                      0.236∗ ∗ ∗
                                                                              [0.033]
                                                                              (18,080)
  Source: OAG, DOT DB1B Data, DOT T-100 Data.
  Notes: Robust standard errors, clustered by route, are in brackets.
  Models weighted by total passengers on route for all p erio ds.
  Nonstop overlaps deﬁned as routes where both merging parties had at least 5 roundtrips in the week of July
  9–15 of the merger year.
  ∗∗∗ ∗∗ ∗
     / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



     The implications from the table are clear: When considered collectively, the recent
  legacy mergers have b een asso ciated with pro-comp etitive eﬀects on aﬀected routes rel-
  ative to unaﬀected routes.
  •    On average, following the mergers, there were substantial fare decreases across all
       routes aﬀected by the mergers relative to unaﬀected routes, averaging 6.3% on routes
       where both merging parties were providing nonstop service.
  •    At the same time, output increased on average by 12.0% on routes where both merging
       parties were providing nonstop service relative to control routes.
  •    There was also a statistically signiﬁcant capacity increase of 23.6% on overlap routes
       relative to non-overlap routes.

     In combination, these results for average fares, output and capacity are strongly sup-
  portive of pro-competitive network eﬀects, with associated output expansion on the over-
  lap routes that are at the heart of the combined network. Taken together, these results
  show that the mergers resulted in decreases in quality-adjusted fares on nonstop overlap
  routes, relative to non-overlap routes.
     We note that legacy mergers had a bigger eﬀect on capacity than on the number of
  passengers on nonstop overlaps. This ﬁnding indicates that merging carriers allocated
  some of the capacity on nonstop overlaps for passengers that use these routes to connect
  to their ultimate destinations, thus also beneﬁting those passengers.
     Table 5 shows the result of the connecting overlap analysis on the p o oled sample of
  all three mergers.32 The results, while less pronounced, support the conclusion that the

  32
       The detailed regression output for the corresponding regressions is presented in the Appendix.
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 Table 5
 Pooled connecting overlap results.
  Dependent variable                                                       Merger eﬀect connecting overlaps

  Log (Avg. fare)                                                          0.002
                                                                           [0.011]
                                                                           (50,514)
  Log (90th Percentile fare)                                               −0.004
                                                                           [0.013]
                                                                           (50,514)
  Log (Nr. passengers)                                                     0.012
                                                                           [0.014]
                                                                           (50,514)
 Source: OAG, DOT DB1B Data.
 Notes: Robust standard errors, clustered by route, are in brackets.
 Models weighted by total passengers on route for all p erio ds.
 Connecting overlaps deﬁned as routes where both merging parties had at least 10% share of passengers and
 combined they had at least 40% share in the pre-merger p erio d.
 ∗∗∗ ∗∗ ∗
    / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



 three legacy airline mergers had no anti-competitive eﬀects. The main takeaway from
 the combined connecting results is that the there is no detectable anti-competitive eﬀect
 from the three recent legacy airline mergers on output or fares on connecting overlaps


 5.2. Individual regression results

    We also ﬁnd that the results in the p o oled regressions hold even when we evaluate
 each legacy airline merger individually. In particular, Table 6 shows the results of the
 diﬀerence-in-diﬀerences analysis for nonstop overlaps separately for each legacy airline
 merger.33 These results indicate that none of the three mergers had anti-competitive
 eﬀects. Quite the opposite, the Delta/Northwest and American/US Airways mergers ap-
 pear to have led to large fare reductions on aﬀected routes, combined with large output
 and capacity increases. On average, following the mergers and relative to unaﬀected
 routes, the fares have declined by 4.4% and 12.3%, respectively, on Delta/Northwest and
 American/US Airways nonstop overlap routes, and the output on these routes has in-
 creased by 6.6% and 20.2%, respectively. Similarly, the capacity has increased by 25.5%
 and 19.6% on Delta/Northwest and American/US Airways nonstop overlap routes, re-
 spectively.
    In the case of the United/Continental merger, although there was no statistically
 signiﬁcant fare reduction, there were large statistically signiﬁcant increases in output
 and capacity on aﬀected routes, which have increased (relative to unaﬀected routes) by
 7.2 and 26.4%, respectively, indicating a reduction in quality-adjusted fares.
    Thus, we conclude that each of the three recent legacy mergers resulted in decreases in
 quality-adjusted fares on nonstop overlap routes, relative to nonstop non-overlap routes,

 33
      The individual merger regressions each use that merger-speciﬁc set of control routes.
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  Table 6
  Separate nonstop overlap results.
                                          DL/NW merger                UA/CO merger                AA/US merger
                                          eﬀect nonstop               eﬀect nonstop               eﬀect nonstop
   Dependent variable                     overlaps                    overlaps                    overlaps

   Log (Avg. fare)                        −0.044∗ ∗                   −0.013                      −0.123∗ ∗ ∗
                                          [0.021]                     [0.013]                     [0.042]
                                          (8554)                      (2267)                      (7302)
   Log (90th percentile Fare)             −0.023                      −0.020                      −0.057
                                          [0.041]                     [0.021]                     [0.042]
                                          (8554)                      (2267)                      (7302)
   Log (Nr. passengers)                   0.066∗ ∗                    0.072∗                      0.202∗ ∗ ∗
                                          [0.031]                     [0.040]                     [0.061]
                                          (8554)                      (2267)                      (7302)
   Log (Nr. T-100 seats)                  0.255∗ ∗ ∗                  0.264∗ ∗ ∗                  0.196∗ ∗ ∗
                                          [0.070]                     [0.027]                     [0.057]
                                          (8528)                      (2262)                      (7290)
  Source: OAG, DOT DB1B Data, DOT T-100 Data.
  Notes: Robust standard errors, clustered by route, are in brackets.
  Models weighted by total passengers on route for all p erio ds.
  Nonstop overlaps deﬁned as routes where both merging parties had at least 5 roundtrips in the week of July
  9–15 of the merger year.
  ∗∗∗ ∗∗ ∗
     / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



  with the output and capacity growth on the routes at the heart of the combined network
  being strongly supportive of network beneﬁts from the mergers.
     The fact that nominal fare eﬀects for the United/Continental merger are not statis-
  tically signiﬁcant—and thus that results are more mixed for this merger than the other
  two—is consistent with conventional wisdom about the merger. In particular, as was
  well publicized, the United-Continental merger faced extensive integration diﬃculties,
  leading analysts to conclude that the beneﬁts that could otherwise have been achieved
  by the merger were “squandered.34 ” Many of the problems appear to derive from labor
  integration issues,35 as well as from the issues in integrating reservation systems.36


   34
      Vicki Bryan, a senior bond analyst at New York- based Gimme Credit LLC, quoted in “United Vows
  Steps to Boost Sales as Proﬁt Trails Views,” Bloomberg, October 24, 2013, http://www.bloomberg.com/
  news/2013- 10- 24/united- vows- steps- to- b o ost- sales- as- proﬁt- trails- views.html, (“‘United has not just been
  going the wrong way proﬁt-wise, it seems to have squandered so far the promising potential that had
  seemed so obvious’ with the 2010 merger that combined the networks of United and Continental Airlines”).
  For other discussion of the United-Continental integration diﬃculties see The Economist, “The United-
  Continental Merger: Truly United?”, September 9, 2013, http://www.economist.com/blogs/gulliver/2013/
  09/united-continental-merger.
   35
      United stated in its 2012 annual report that “the successful integration of United and Continental and
  achievement of the anticipated beneﬁts of the combined company depend in part on integrating United
  and Continental employee groups and maintaining productive employee relations” and that “[a] delay in
  our failure to integrate the United and Continental employee groups presents the potential for delays in
  achieving expected Merger synergies, increased operating costs and labor disputes that could adversely
  aﬀect our operations.” (United Airlines Form 10-K for the Year Ending December 31, 2012, p. 18, http:
  //www.sec.gov/Archives/edgar/data/100517/000119312513074391/d436512d10k.htm.)
   36
      CEO Jeﬀ Smisek speciﬁcally named the reservations system as a very diﬃcult part of the integration.
  (The Charlie Rose Show, PBS, August 9, 2013 “Conversation with Ashton Kutcher; Conversation with Jeﬀ
  Smisek” (Transcript provided by Dow Jones), p. 12.)
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 Table 7
 Separate connecting overlap results.
                                        DL/NW merger           UA/CO merger             AA/US merger
                                        eﬀect connecting       eﬀect connecting         eﬀect connecting
  Dependent variable                    overlaps               overlaps                 overlaps

  Log (Avg. fare)                       −0.037∗                0.036                    0.010
                                        [0.020]                [0.027]                  [0.014]
                                        (19,230)               (10,432)                 (20,852)
  Log (90th percentile Fare)            −0.046∗ ∗              0.003                    0.012
                                        [0.019]                [0.046]                  [0.016]
                                        (19,230)               (10,432)                 (20,852)
  Log (Nr. passengers)                  0.010                  0.012                    0.017
                                        [0.025]                [0.048]                  [0.020]
                                        (19,230)               (10,432)                 (20,852)
 Source: OAG, DOT DB1B Data.
 Notes: Robust standard errors, clustered by route, are in brackets.
 Models weighted by total passengers on route for all p erio ds.
 Connecting overlaps deﬁned as routes where both merging parties had at least 10% share of passengers and
 combined they had at least 40% share in the pre-merger p erio d.
 ∗∗∗ ∗∗ ∗
    / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



    Connecting overlap results for each merger individually are also each consistent with
 the p o oled results for connecting routes. Table 7 presents the results for connecting
 overlaps for each of the mergers, separately. Like the p o oled regression results in Table 5,
 the main result apparent from Table 7 is the lack of fare and output eﬀects, and therefore
 the lack of anti-competitive eﬀect due to each of the mergers. The Delta/Northwest
 merger resulted in a small negative eﬀect of 3.7% on nominal business fares. However,
 other nominal fare eﬀects are insigniﬁcant. All of the coeﬃcients on passenger traﬃc are
 positive, but not statistically signiﬁcant. Overall, the results for the individual mergers
 show no consistent pattern of anti-competitive eﬀects for connecting overlaps, relative
 to non-overlap connecting routes, but also no strong support for pro-competitive eﬀects.
 The lack of pro-competitive eﬀects may not be surprising: as noted above, the merger
 beneﬁts hold for the nonstop overlap that are at the heart of the combined network and
 thus experience capacity/output expansions due to network beneﬁts, but these beneﬁts
 do not appear to carry through for connecting overlaps.

 5.3. Robustness checks and sensitivity analyses

    To conﬁrm the robustness of our results, we have also run a variety of other alternative
 speciﬁcations of the regressions. Our sensitivity analyses deal, among other things, with
 how we deﬁned the aﬀected (overlap) routes, how we deﬁned pre- and post-merger time
 p erio ds, and our selection of control routes.37 Although there is naturally slight variation
 in results between various speciﬁcations, taken as whole, these sensitivity results strongly

  37
     Mehta and Miller (2012) emphasize the importance of checking alternative controls in diﬀerence-in-
 diﬀerences studies of airline mergers in particular, including ﬁlters based on the number of passengers on
 the route.
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  conﬁrm our conclusion that the recent legacy mergers were not associated with anti-
  competitive outcomes.
     First, we conﬁrmed that the sets of control routes we use in our nonstop and, sep-
  arately, connecting overlap analyses are appropriate for our diﬀerences-in-diﬀerences
  method. In particular, we have conﬁrmed that the trends in the fares and output on
  nonstop and connecting overlaps and on the corresponding sets of control routes are not
  statistically diﬀerent in each of the three pre-merger p erio ds, with some exceptions, which
  upon further examination led us to conclude that our results are overly conservative.
     In particular, separately for each merger in the pre-merger time p erio d— and sep-
  arately for nonstop and connecting routes—we ran regressions of fares and passengers
  (both in logarithms) on route ﬁxed eﬀects, quarter ﬁxed eﬀects, and quarter ﬁxed eﬀects
  interacted with the dummy variable for control routes. We then tested the joint hypoth-
  esis that the interactions of quarter ﬁxed eﬀects with the dummy variable for control
  routes are jointly zero, and we could not reject this hypothesis at the 5% signiﬁcance
  level for all but four of the twelve regressions. For these four cases, we repeated the re-
  gression using the pre-merger time p erio d, but instead of interacting the dummy variable
  for control routes with the quarter ﬁxed eﬀects, we interacted it with a time trend to
  determine if a diﬀerence in time trend would bias our results. Based on the coeﬃcient
  estimates for the interaction, in three out of four cases, the control routes have trends
  that are more favorable to consumers (in terms of fares or output, as is relevant in the
  speciﬁc regression, using the 5% level of signiﬁcance), and in the fourth case there is no
  statistically signiﬁcant diﬀerence in trend between control and treatment routes. Hence,
  to the extent there are statistically signiﬁcant trend diﬀerences between the treatment
  and control routes, they tend to bias results toward a ﬁnding of anti-competitive merger
  eﬀects, thus bolstering our ﬁnding of no such eﬀect, and if anything, making our results
  conservative.
     Table 8a and 8b present the results from a variety of alternative versions of our p o oled
  nonstop regressions.38 The ﬁrst column in Table 8a repeats the results of our base p o oled
  regression. In the next two columns we split the estimation sample into two subsamples
  of routes that had either two or three nonstop carriers before the merger. The results
  indicate that the mergers had pro-competitive eﬀects for both types of routes. Then, in
  the following column, we expand our base model to include routes that had four nonstop
  carriers before the merger (along with routes with two or three nonstop carriers).
     In the next two columns, we alter the threshold for a nonstop carrier to count as
  “present” on a route (and thus alter the set of overlaps and the number of carriers on
  each route) from ﬁve round-trips in a week to three or seven round-trips, respectively.
     In the last three columns, we alter the time p erio ds used to evaluate the regression.
  First, we use a time p erio d of one year pre- and post-merger rather than two years pre-
  and post-merger. In the following two columns, we consider, respectively, two and three


  38
       The results of similar sensitivity regressions for individual mergers are presented in Appendix.
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 years before and after the merger but exclude the ﬁrst year after the merger from the
 p ost-merger time p erio d, to allow time for the eﬀects of the merger to come to fruition.39
    In the second column in Table 8b, we replace the dummy variable in the regression
 with a measure of change in concentration due to the merger, in this case change in HHI
 between post- and pre-merger, which we divide by 5000 (the maximum change possible
 from a merger) to arrive to a measure that takes values between 0 and 1.40 In the following
 column, we show the results of unweighted OLS regressions.
    In the next four columns, we add additional ﬁlters on the set of control routes.41 First,
 we add an “LCC ﬁlter” requiring that control routes had the same number of LCCs in
 the pre-merger p erio d as the overlap route. Second, we add a “pax ﬁlter” requiring that
 control routes must carry an aggregate number of passengers greater than or equal to
 75% of the least-travelled corresponding overlap route and less than or equal to 125%
 of the most travelled corresponding overlap route. Third, we add a “distance ﬁlter” to
 our base regression requiring that control routes must span a distance greater than or
 equal to 75% of the shortest corresponding overlap route and less than or equal to 125%
 of the longest corresponding overlap route. Finally, we add an “origin-destination ﬁlter”
 requiring that control routes must share an origin or a destination with a corresponding
 overlap route.
    This broad set of alternative speciﬁcations provides strong support for our conclusions
 regarding nonstop overlaps. Most importantly, total output increases by a statistically sig-
 niﬁcant amount—of at least 8.7%—in all speciﬁcations. Similarly, total capacity increases
 by a statistically signiﬁcant amount—of at least 14.3%—across all speciﬁcations. Hence,
 we ﬁnd support for lower quality-adjusted fares across all speciﬁcations.
    Table 9a and 9b present the results from a variety of alternative versions of our con-
 necting regressions. The ﬁrst column in Table 9a repeats the results of our base p o oled
 regression. In the next two columns we split the estimation sample into two subsamples
 of routes that had either two or three carriers before the merger. The results indicate that
 the mergers had pro-competitive eﬀects for 2-to-1 connecting overlaps. In the following
 column, we expand the sample to include routes that had four carriers before the merger
 (along with routes that had two or three carriers)
    In the next column, we alter the threshold for presence as a connecting carrier on
 a route to a minimum share of ﬁve (rather than ten)%, and alter the deﬁnition of a
 connecting overlap to at least 5% share for each merging party in the pre-merger p erio d
 and a combined share of at least 30 (rather than 40)%. In the following column, we
 reduce the PDEW requirement for inclusion in the regression to 10 (from 20).

  39
     For the American/US Airways merger, there are only ten quarters of data available after the merger;
 therefore, we can only use six quarters of data for the post-merger period.
  40
     Using this alternative measure allows us to expand the set of treatment routes.
  41
     The approach of using additional ﬁlters to select control routes is similar in spirit to the synthetic control
 method (See Abadie and Gardeazabal, 2003 and Abadie, Diamond and Hainmueller, 2010). The synthetic
 control methodology requires one synthetic control for each treated unit, i.e., an overlap route.Instead, in
 our paper we identify many control routes that match the group of treatment (i.e., overlap) routes on the
 important dimension of the number of pre-merger competitors, and we show that our results are highly
 robust to further restriction of the control group.
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Table 8a
Sensitivity results for nonstop overlaps.
                                                                                                                                      +/−2 Year,    +/−3 Year,
                                                                           4→3, 3→2,                                                  Exc. post     Exc. post
 Dependent variable           Base           2→1            3 →2           2 →1          3 Round-trips   7 Round-trips   +/−1 Year    year          year
                                        ∗∗             ∗∗             ∗∗             ∗             ∗∗              ∗∗
 Log [Avg. fare]              −0.063         −0.113         −0.053         −0.040        −0.062          −0.055          −0.044       −0.067∗ ∗ ∗   −0.044∗
                              [0.026]        [0.055]        [0.024]        [0.021]       [0.026]         [0.025]         [0.029]      [0.026]       [0.025]
                              (18,123)       (11,264)       (6859)         (20,766)      (18,786)        (16,983)        (9039)       (13,592)      (20,827)
 Log [90th percentile Fare]   −0.030         −0.061         −0.025         −0.035        −0.029          −0.015          −0.021       −0.032        −0.040
                              [0.020]        [0.047]        [0.021]        [0.028]       [0.020]         [0.026]         [0.025]      [0.027]       [0.030]
                              (18,123)       (11,264)       (6859)         (20,766)      (18,786)        (16,983)        (9039)       (13,592)      (20,827)
 Log [Nr. passengers]         0.120∗ ∗ ∗     0.190∗ ∗ ∗     0.087∗ ∗ ∗     0.098∗ ∗ ∗    0.121∗ ∗ ∗      0.093∗ ∗ ∗      0.099∗ ∗ ∗   0.124∗ ∗ ∗    0.141∗ ∗ ∗
                              [0.032]        [0.066]        [0.031]        [0.024]       [0.032]         [0.031]         [0.035]      [0.035]       [0.033]
                              (18,123)       (11,264)       (6859)         (20,766)      (18,786)        (16,983)        (9039)       (13,592)      (20,827)
 Log [Nr. T-100 seats]        0.236∗ ∗ ∗     0.170∗ ∗       0.236∗ ∗ ∗     0.143∗ ∗ ∗    0.237∗ ∗ ∗      0.189∗ ∗ ∗      0.188∗ ∗ ∗   0.254∗ ∗ ∗    0.284∗ ∗ ∗
                              [0.033]        [0.079]        [0.024]        [0.025]       [0.034]         [0.036]         [0.028]      [0.044]       [0.042]
                              (18,080)       (11,230)       (6850)         (20,715)      (18,724)        (16,943)        (9019)       (13,561)      (19,842)
Source: OAG, DOT DB1B Data, DOT T-100 Data.
Notes: Robust standard errors, clustered by route, are in brackets.
Number of observations in the regression in parentheses.
Unless noted otherwise, regressions weighted by total passengers on route for all p erio ds.
Unless noted otherwise, nonstop overlaps deﬁned as routes where both merging parties had at least 5 roundtrips in the week of July 9–15 of the merger year.
∗∗∗ ∗∗ ∗
   / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.




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Table 8b
Sensitivity results for nonstop overlaps.
 Dependent variable            Base           HHI dummy       Non-weighted   LCC ﬁlter      Pax ﬁlter      Distance ﬁlter    OD ﬁlter       Demo
                                         ∗∗             ∗∗∗             ∗              ∗∗             ∗∗             ∗                 ∗
 Log [Avg. fare]               −0.063         −0.251          −0.044         −0.051         −0.059         −0.046            −0.045         −0.063∗ ∗
                               [0.026]        [0.054]         [0.023]        [0.024]        [0.027]        [0.026]           [0.026]        [0.026]
                               (18,123)       (18,117)        (18,123)       (8081)         (8480)         (10,684)          (3856)         (17,632)
 Log [90th percentile fare]    −0.030         −0.200∗ ∗ ∗     −0.030         −0.019         −0.027         −0.016            −0.015         −0.034
                               [0.020]        [0.061]         [0.030]        [0.020]        [0.023]        [0.020]           [0.026]        [0.021]
                               (18,123)       (18,117)        (18,123)       (8081)         (8480)         (10,684)          (3856)         (17,632)
 Log [Nr. passengers]          0.120∗ ∗ ∗     0.339∗ ∗ ∗      0.131∗ ∗ ∗     0.116∗ ∗ ∗     0.112∗ ∗ ∗     0.095∗ ∗ ∗        0.112∗ ∗ ∗     0.126∗ ∗ ∗
                               [0.032]        [0.052]         [0.047]        [0.031]        [0.034]        [0.031]           [0.033]        [0.032]
                               (18,123)       (18,117)        (18,123)       (8081)         (8480)         (10,684)          (3856)         (17,632)
 Log [Nr. T-100 seats]         0.236∗ ∗ ∗     0.391∗ ∗ ∗      0.220∗ ∗ ∗     0.227∗ ∗ ∗     0.241∗ ∗ ∗     0.224∗ ∗ ∗        0.213∗ ∗ ∗     0.243∗ ∗ ∗
                               [0.033]        [0.068]         [0.067]        [0.030]        [0.043]        [0.034]           [0.029]        [0.033]
                               (18,080)       (18,074)        (18,080)       (8058)         (8454)         (10,656)          (3850)         (17,593)
Source: OAG, DOT DB1B Data, DOT T-100 Data.
Notes: Robust standard errors, clustered by route, are in brackets.
Number of observations in the regression in parentheses.
Unless noted otherwise, regressions weighted by total passengers on route for all p erio ds.
Unless noted otherwise, nonstop overlaps deﬁned as routes where both merging parties had at least 5 roundtrips in the week of July 9–15 of the merger year.
∗∗∗ ∗∗ ∗
   / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.
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Table 9a
Sensitivity results for connecting overlaps.
                                                                      4→3, 3→2,                 10          +/−1       +/−2 Year,       +/−3 Year,
 Dependent variable            Base            2→1         3 →2       2→1         5-5-30        PPDEW       Year       Exc. post year   Exc.post year

 Log [Avg. fare]               0.002           −0.042∗ ∗   0.010      0.007       −0.046∗ ∗ ∗   0.005       0.017      −0.001           −0.017
                               [0.011]         [0.017]     [0.012]    [0.009]     [0.015]       [0.009]     [0.011]    [0.014]          [0.014]
                               (50,514)        (17,746)    (32,768)   (68,658)    (34,832)      (103,825)   (29,530)   (37,887)         (58,638)
 Log [90th percentile fare]    −0.004          −0.033      0.004      0.003       −0.055∗ ∗ ∗   −0.005      0.015      −0.006           −0.024∗
                               [0.013]         [0.025]     [0.014]    [0.009]     [0.016]       [0.010]     [0.011]    [0.014]          [0.014]
                               (50,514)        (17,746)    (32,768)   (68,658)    (34,832)      (103,825)   (29,530)   (37,887)         (58,638)
 Log [Nr. passengers]          0.012           0.046∗ ∗    0.006      −0.001      0.067∗ ∗ ∗    0.004       0.013      0.011            0.025
                               [0.014]         [0.021]     [0.017]    [0.012]     [0.020]       [0.012]     [0.016]    [0.019]          [0.019]
                               (50,514)        (17,746)    (32,768)   (68,658)    (34,832)      (103,825)   (29,530)   (37,887)         (58,638)
Source: OAG, DOT DB1B Data.
Notes: Robust standard errors, clustered by route, are in brackets.
Number of observations in the regression in parentheses.
Unless noted otherwise, regressions weighted by total passengers on route for all p erio ds.
Unless noted otherwise, connecting overlaps deﬁned as routes where both merging parties had at least 10% share of passengers and combined they had at
least 40% share in the pre-merger p erio d.
∗∗∗ ∗∗ ∗
    / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.




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Table 9b
Sensitivity results for connecting overlaps.
 Dependent variable             Base           HHI dummy    Non-weighted      LCC ﬁlter      Pax ﬁlter     Distance ﬁlter     OD ﬁlter      Demo

 Log [Avg. fare]                0.002          −0.039       0.016             0.006          0.000         0.006              0.008         0.004
                                [0.011]        [0.033]      [0.011]           [0.011]        [0.011]       [0.011]            [0.011]       [0.011]
                                (50,514)       (50,514)     (50,514)          (39,824)       (45,890)      (48,291)           (23,776)      (49,476)
 Log [90th percentile fare]     −0.004         −0.093∗ ∗    0.004             0.006          −0.009        0.000              0.007         −0.001
                                [0.013]        [0.037]      [0.011]           [0.013]        [0.013]       [0.013]            [0.013]       [0.012]
                                (50,514)       (50,514)     (50,514)          (39,824)       (45,890)      (48,291)           (23,776)      (49,476)
 Log [Nr. passengers]           0.012          0.100∗ ∗     −0.012            0.008          0.014         0.007              0.007         0.012
                                [0.014]        [0.042]      [0.017]           [0.014]        [0.015]       [0.014]            [0.015]       [0.015]
                                (50,514)       (50,514)     (50,514)          (39,824)       (45,890)      (48,291)           (23,776)      (49,476)
Source: OAG, DOT DB1B Data.
Notes: Robust standard errors, clustered by route, are in brackets.
Number of observations in the regression in parentheses.
Unless noted otherwise, regressions weighted by total passengers on route for all p erio ds.
Unless noted otherwise, connecting overlaps deﬁned as routes where both merging parties had at least 10% share of passengers and combined they had at
least 40% share in the pre-merger p erio d.
∗∗∗ ∗∗ ∗
    / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.
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  Table 10
  Placebo test.
                                    Nonstop                               Connecting

   Dependent variable               Base              Placebo test        Base             Placebo test
                                              ∗∗              ∗∗∗
   Log [Avg. fare]                  −0.063            0.052               0.002            0.005
                                    [0.026]           [0.017]             [0.011]          [0.011]
                                    (18,123)          (18,127)            (50,514)         (50,438)
   Log [90th percentile Fare]       −0.030            0.112∗ ∗ ∗          −0.004           -0.002
                                    [0.020]           [0.031]             [0.013]          [0.015]
                                    (18,123)          (18,127)            (50,514)         (50,438)
   Log [Nr. passengers]             0.120∗ ∗ ∗        −0.024              0.012            −0.013
                                    [0.032]           [0.022]             [0.014]          [0.018]
                                    (18,123)          (18,127)            (50,514)         (50,438)
   Log [Nr. T-100 seats]            0.236∗ ∗ ∗        0.001
                                    [0.033]           [0.027]
                                    (18,080)          (17,970)
  Source: OAG, DOT DB1B Data, DOT T-100 Data.
  Notes: Robust standard errors, clustered by route, are in brackets.
  Number of observations in the regression in parentheses.
  Models weighted by total passengers on route for all p erio ds.
  ∗∗∗ ∗∗ ∗
     / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



     In the last three columns, we alter the time p erio ds used to evaluate the regression.
  First, we use a time p erio d of one year pre- and post-merger rather than two years pre-
  and post-merger. In the following two columns, we consider, respectively, two and three
  years before and after the merger but exclude the ﬁrst year after the merger from the
  post-merger time period, to allow time for the eﬀects of the merger to come to fruition.
     In the second column in Table 9b, we replace the dummy variable in the regression
  with a measure of change in concentration due to the merger, in this case change in HHI,
  which we divide by 5000 (the maximum possible change due to a merger) to arrive to a
  measure taking values between 0 and 1. In the following column, we show the results of
  unweighted OLS regressions.
     Finally, in the last four columns, we add additional ﬁlters on the set of control routes,
  which are deﬁned in the same way as in the sensitivities for our nonstop regressions.
     This broad set of alternative speciﬁcations strongly supports our conclusion of no
  competitive harm on connecting overlaps. There is not a single speciﬁcation that shows
  a statistically signiﬁcant increase in nominal fares or a statistically signiﬁcant reduction
  in output.
     Lastly, in Table 10, we present the results of a “placebo” test, in which separately for
  each merger, we shift the time p erio d back three years or more so that the new, modiﬁed
  pre- and post-merger time periods are entirely within the actual merger’s pre-merger time
  p erio d. Thus, in the placeb o test we counterfactually act as if each merger occurred three
  years before it actually happened. We then evaluate the “merger” eﬀects on the routes
  aﬀected by actual merger, and otherwise keep everything else (including the regression
  speciﬁcation as well as the sets of treatment and control routes) the same. In this way,
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 we test whether our results are potentially driven by our model speciﬁcation, in which
 case the results of the placebo test would be similar to our base results. Instead, the
 results of the placebo test are starkly diﬀerent from our base regression results: Unlike
 our base results, we ﬁnd no instances of negative fare eﬀects and positive output eﬀects
 in the placebo cases.

 6. Conclusion

    The eﬀect of the recent legacy mergers in the airline industry have generated much de-
 bate, with many claiming they have led to anti-competitive eﬀects including fare increases
 and output reductions. If there were such anticompetitive eﬀects from these mergers, one
 would expect them to occur most strongly on routes in which the merging parties over-
 lapped, and few other carriers were present, pre-merger. We ﬁnd no such eﬀects on overlap
 routes and thus no support for the claims of anti-competitive eﬀects.
    One implication of our ﬁndings is that any fare increases that have been observed
 since the mergers were very unlikely to have been caused by the mergers. In particular,
 our results demonstrate pro-competitive output expansions on nonstop overlap routes
 indicating reductions in quality-adjusted fares and a lack of signiﬁcant anti-competitive
 eﬀects on connecting overlaps. Hence, our results demonstrate consumer welfare gains on
 overlap routes, without even taking credit for the large beneﬁts on non-overlap routes
 (due to new online service, improved service networks at airports, ﬂeet reallocation, etc.).
 While some of our results indicate that passengers on non-overlap routes also beneﬁtted
 from the mergers, we leave the complete exploration of such network eﬀects for future
 research.

 Appendix: DB1B data processing

    The Bureau of Transportation Statistics compiles the Airline Origin and Destination
 Survey (DB1B) data used in our analysis. DB1B data represents a 10% sample of airline
 tickets from reporting carriers, and includes origin, destination, and other itinerary de-
 tails of passengers transported. DB1B data was processed in order to facilitate its use in
 our analyses. Raw DB1B data is retrieved from the Bureau of Transportation Statistics
 website in three separate subsets: Market, Ticket, and Coupon data.42 The goal of pro-
 cessing serves two purposes: to merge the three datasets together, and to adjust existing
 variables or calculate additional variables.
    Starting with the coupon data, we construct itineraries, calculate the total itinerary
 distance, and count the number of segments within each direction for each itinerary. We
 also use the number of directional markets as well as the round-trip ﬂag variable from
 the data to classify itineraries into one-way trips, round-trips, and open jaws.

 42
    http://www.transtats.bts.gov. The Coupon data contain the most disaggregated data, provided at seg-
 ment level, the Market data are itinerary-level data, representing directional-market information, and the
 Ticket data represents summary ticket-level data.
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  Table A1
  Detailed regression output for p o oled nonstop overlap results.
                                                 Log (90th percentile                             Log (Nr. T-100
   Variable           Log (Avg. fare)            Fare)                       Log (Nr. passengers) seats)

                      (1)             (2)        (3)           (4)           (5)             (6)             (7)           (8)
                               ∗∗                                                    ∗∗∗             ∗∗              ∗∗∗
   Merger eﬀect     −0.063            -0.048     -0.030        −0.015        0.120           0.092           0.236         0.185∗ ∗ ∗
   nonstop overlaps [0.026]           [0.032]    [0.020]       [0.020]       [0.032]         [0.040]         [0.033]       [0.035]
   Percent of         −0.560∗ ∗ ∗                −0.577∗ ∗ ∗                 1.054∗ ∗ ∗                      1.931∗ ∗ ∗
   nonstop            [0.045]                    [0.052]                     [0.080]                         [0.166]
   passengers on
   route
   R-squared          0.936           0.929      0.937         0.932         0.965           0.961           0.964         0.951
   Number of          18,123          18,123     18,123        18,123        18,123          18,123          18,080        18,080
   observations
  Source: OAG, DOT DB1B Data, DOT T-100 Data.
  Notes: Robust standard errors, clustered by route, are in brackets.
  Models weighted by total passengers on route for all p erio ds.
  Regression (2) omits "Percent of Nonstop Passengers on Route", but is otherwise identical to regression (1).
  Nonstop overlaps deﬁned as routes where both merging parties had at least 5 roundtrips in the week of July
  9–15 of the merger year.
  ∗∗∗ ∗∗ ∗
     / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.


  Table A2
  Detailed regression output for p o oled connecting overlap results.
   Variable                   Log (Avg. fare)                  Log (90th percentile Fare)                 Log (Nr. passengers)

                              (1)               (2)            (3)                 (4)                    (5)              (6)

   Merger eﬀect               0.002             −0.003         −0.004              −0.008                 0.012            0.030
   connecting overlaps        [0.011]           [0.013]        [0.013]             [0.014]                [0.014]          [0.022]
   Percent of nonstop         −0.304∗ ∗ ∗                      −0.259∗ ∗ ∗                                1.171∗ ∗ ∗
   passengers on route        [0.019]                          [0.021]                                    [0.041]
   R-squared                  0.909             0.898          0.897               0.891                  0.970            0.958
   Number of                  50,514            50,514         50,514              50,514                 50,514           50,514
   observations
  Source: OAG, DOT DB1B Data.
  Notes: Robust standard errors, clustered by route, are in brackets.
  Models weighted by total passengers on route for all p erio ds.
  Regression (2) omits "Percent of Nonstop Passengers on Route", but is otherwise identical to regression (1).
  Connecting overlaps deﬁned as routes where both merging parties had at least 10% share of passengers and
  combined they had at least 40% share in the pre-merger p erio d.
  ∗∗∗ ∗∗ ∗
     / / denote signiﬁcance of coeﬃcients at 1%/5%/10% level of signiﬁcance.



      We also make a few adjustments to existing variables to better reﬂect the true nature
  of the underlying data. Based on the number of coupons, and the origins and destinations
  of the diﬀerent legs in the coupon data, we identify true origin and destination for each
  directional trip. We multiply the number of passengers by 10 to reﬂect the DB1B survey
  sampling. The directional fare is set to half the itinerary fare if part of a round-trip.
      To preserve only relevant, high-quality data, we implement several restrictions. To
  start, we restrict the data to only US carriers. We use T-100 US Domestic Segment
  data (also from the Bureau of Transportation Statistics) and OAG data to generate a
  list of US carrier codes by quarter. Any ﬂights with either a foreign ticketing or foreign
  operating carrier are removed from the data. We also drop itineraries where the number
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            Sensitivity results for nonstop overlaps−Delta/Northwest.
            Table A3
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            Sensitivity results for nonstop overlaps - United/Continental.
            Table A4
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            Sensitivity results for nonstop overlaps - American/US Airways.
            Table A5
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                 Sensitivity results for connecting overlaps - Delta/Northwest.
                 Table A6
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                 Sensitivity results for connecting overlaps - United/Continental.
                 Table A7
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                   Sensitivity results for connecting overlaps - American/US Airways.
                   Table A8
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 of coupons in a direction is greater than three, itineraries where the origin and destination
 are identical for any direction, itineraries identiﬁed as bulk fares, itineraries where the
 directional fare is less than $25, and itineraries where the fare is identiﬁed as not-credible.
    Appendix Tables 3–8.

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